
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date October 28, 1966.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition for certiorari is therefore denied.
Attorney’s fee in the amount of $250.00 is awarded to respondent’s attorney.
It is so ordered.
ROBERTS, Acting C. J., and DREW, O’CONNELL, CALDWELL and ERVIN, JT., concur.
